  Case: 1:12-cr-00043-MRB Doc #: 382 Filed: 03/06/17 Page: 1 of 1 PAGEID #: 3929



                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION

Tracy Bias,

      Petitioner/Defendant,

              v.                                      Case No. 1:12cr043-1
                                                      (1:17cv114)

United States of America,                             Judge Michael R. Barrett

      Respondent/Plaintiff.

                                        ORDER

      This matter is before the Court on Petitioner=s Motion to Vacate, Correct, or Set

Aside Sentence pursuant to 28 U.S.C. ' 2255 (Doc. 381).

      It is ORDERED that the Clerk serve a copy of this Order upon the United States

Attorney, such service to constitute notice to answer or otherwise plead to the complaint

pursuant to Rule 4(b) and 5 of the rules governing Section 2255 within twenty-one (21)

days of the date of this Order.

      IT IS SO ORDERED.



                                               s/Michael R. Barrett
                                         Michael R. Barrett
                                         United States District Judge
